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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      CRIMINAL ACTION NO.
                                               )         2:25cr242-MHT
                                               )              (WO)
FILOGONIO ROJAS-HILARIO                        )


                                         ORDER
COUNSEL ARE DIRECTED TO PAY PARTICULAR ATTENTION TO PARAGRAPHS 3
AND 4 IN THIS ORDER. FAILURE TO COMPLY WITH THESE TWO PARAGRAPHS
MAY SUBJECT COUNSEL TO SANCTIONS.

        Now pending before the court is defendant’s unopposed motion to set combined change
of plea and sentencing hearing (Doc. 19) and defendant’s unopposed motion to impose sentence
without a presentence investigative report (Doc. 21) filed on May 7, 2025. Upon consideration of
the motions, and for good cause, it is

        ORDERED that the unopposed motion to impose sentence without a presentence
investigative report (Doc. 21) is granted.

       It is further ORDERED that the unopposed motion to set combined change of plea and
sentencing hearing (Doc. 19) is granted to the following extent:

       1.      The United States Magistrate Judge shall hold the plea hearing, which will be set
by separate order, on May 14, 2025, with sentencing to follow on the same day.

        2.    Sentencing of the defendant is hereby set on May 14, 2025, at 11:00 a.m.,
Courtroom 2FMJ, the Frank M. Johnson, Jr. United States Courthouse Complex, One Church
Street, Montgomery, Alabama.

       3.      At least three business days before the sentencing date, the government and the
defendant shall each file a memorandum setting forth (a) the sentence the defendant should
receive and (b) why that sentence is appropriate based on the facts and the law.

       4.     The following motions must be filed at least three business days before the
sentencing date if the bases for the motions are known at that time: a motion for reduction of
sentence based on the defendant’s cooperation; a motion for reduction of sentence based on
defendant’s acceptance of responsibility; a motion for departure; and a motion for variance
(downward or upward) from the guideline sentence.
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            Nothing contained in this order shall be construed as impairing the rights of any party
as established in the Constitution or laws of the United States.

       DONE, this 8th day of May 2025.

                                                            /s/ Myron H. Thompson
                                                         UNITED STATES DISTRICT JUDGE




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